431 F.2d 704
    Theodore HENDERSON, Petitioner-Appellant,v.NEVADA COUNTY SUPERIOR COURT, STATE OF CALIFORNIA, Respondent-Appellee.
    No. 30087 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    September 17, 1970.
    
      Appeal from Northern District of Texas at Dallas, Sarah Tilghman Hughes, Judge.
      Theodore Henderson, pro se.
      Thomas C. Lynch, Atty. Gen., of California, Sacramento, Cal., for respondent-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      After a review of the record, we conclude that there is no federal jurisdiction in this case. Therefore, the Order appealed from is vacated, and the appeal is dismissed.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir. See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir., 1970, 431 F.2d 409, Part I
      
    
    